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          PURSUANT TO COURT ORDER AND
             PROTECTIVE AGREEMENT

                     Elizabeth Sines, et al. v. Jason Kessler, et al.
                         Case No. 3:17-cv-00072-NKM-JCH




              EXHIBITS 105-129
                     To Declaration of Alan Levine in Support of
                        Plaintiffs’ Response in Opposition to
                   Defendants Hill, Tubbs and League of the South’s
                           Motion for Summary Judgment
